Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 1 of 64            FILED
                                                                  2022 Nov-23 PM 02:47
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                    EXHIBIT A
                          Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 2 of 64
                                          ALABAMA SJIS CASE DETAIL
                                                                                                              PREPARED FOR: KILE TURNER
                        County: 08     Case Number: CV-2022-900123.00                         Court Action:
                        Style: SHARON DORSEY V. TRANS UNION, LLC ET AL
                                                                                                                                Real Time




Case Action Summary
Date:        Time       Code    Comments                                                                                      Operator
10/18/2022   5:11 PM    ECOMP   COMPLAINT E-FILED.                                                                            SEA030
10/18/2022   5:12 PM    FILE    FILED THIS DATE: 10/18/2022           (AV01)                                                  AJA
10/18/2022   5:12 PM    EORD    E-ORDER FLAG SET TO "Y"                (AV01)                                                 AJA
10/18/2022   5:12 PM    ASSJ    ASSIGNED TO JUDGE: STEVEN D KING                (AV01)                                        AJA
10/18/2022   5:12 PM    ORIG    ORIGIN: INITIAL FILING              (AV01)                                                    AJA
10/18/2022   5:12 PM    STAT    CASE ASSIGNED STATUS OF: ACTIVE                 (AV01)                                        AJA
10/18/2022   5:12 PM    SCAN    CASE SCANNED STATUS SET TO: N                  (AV01)                                         AJA
10/18/2022   5:12 PM    TDMJ    JURY TRIAL REQUESTED                   (AV01)                                                 AJA
10/18/2022   5:12 PM    C001    C001 PARTY ADDED: DORSEY SHARON                  (AV02)                                       AJA
10/18/2022   5:12 PM    C001    INDIGENT FLAG SET TO: N               (AV02)                                                  AJA
10/18/2022   5:12 PM    C001    LISTED AS ATTORNEY FOR C001: SEALS WALLACE WHITNE                                             AJA
10/18/2022   5:12 PM    C001    C001 E-ORDER FLAG SET TO "Y"                 (AV02)                                           AJA
10/18/2022   5:12 PM    D001    D001 PARTY ADDED: TRANS UNION, LLC               (AV02)                                       AJA
10/18/2022   5:12 PM    D001    INDIGENT FLAG SET TO: N               (AV02)                                                  AJA
10/18/2022   5:12 PM    D001    LISTED AS ATTORNEY FOR D001: PRO SE              (AV02)                                       AJA
10/18/2022   5:12 PM    D001    CERTIFIED MAI ISSUED: 10/18/2022 TO D001        (AV02)                                        AJA
10/18/2022   5:12 PM    D001    D001 E-ORDER FLAG SET TO "Y"                 (AV02)                                           AJA
10/18/2022   5:12 PM    D002    D002 PARTY ADDED: IC SYSTEM, INC.             (AV02)                                          AJA
10/18/2022   5:12 PM    D002    INDIGENT FLAG SET TO: N               (AV02)                                                  AJA
10/18/2022   5:12 PM    D002    LISTED AS ATTORNEY FOR D002: PRO SE              (AV02)                                       AJA
10/18/2022   5:12 PM    D002    CERTIFIED MAI ISSUED: 10/18/2022 TO D002        (AV02)                                        AJA
10/18/2022   5:12 PM    D002    D002 E-ORDER FLAG SET TO "Y"                 (AV02)                                           AJA
10/19/2022   11:19 AM   ESCAN   SCAN - FILED 10/19/2022 - RECEIPT                                                             BOH
10/28/2022   9:30 AM    D002    SERVICE OF CERTIFIED MAI ON 10/24/2022 FOR D002                                               BOH
10/28/2022   9:31 AM    ESERC   SERVICE RETURN                                                                                BOH
10/28/2022   3:21 PM    D001    SERVICE OF CERTIFIED MAI ON 10/24/2022 FOR D001                                               BOH
10/28/2022   3:22 PM    ESERC   SERVICE RETURN                                                                                BOH



                                                              END OF THE REPORT




                                          © Alacourt.com       11/23/2022                 1
                                                         DOCUMENT 1
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                    Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 310/18/2022   FILED
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                                                                                                               08-CV-2022-900123.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                             COVER SHEET                                                 BLOUNT COUNTY, ALABAMA
Unified Judicial System
                                       CIRCUIT COURT - CIVIL CASE                            08-CV-2022-900123.00
                                                                                                    CINDY C. MASSEY, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev. 9/18
                                                                                             10/18/2022

                                                GENERAL INFORMATION
                                  IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA
                                       SHARON DORSEY v. TRANS UNION, LLC ET AL

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way

     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court

     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure

     TOLM - Malpractice-Legal                                TOCN - Conversion

     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
                                                                    Injunction Election Contest/Quiet Title/Sale For Division
     TBFM - Fraud/Bad Faith/Misrepresentation
                                                             CVUD - Eviction Appeal/Unlawful Detainer
     TOXX - Other:
                                                             FORJ - Foreign Judgment
                                                             FORF - Fruits of Crime Forfeiture
TORTS: PERSONAL INJURY
                                                             MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TOPE - Personal Property
                                                             PFAB - Protection From Abuse
     TORE - Real Properly
                                                             EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS                                          QTLB - Quiet Title Land Bank
     ABAN - Abandoned Automobile                             FELA - Railroad/Seaman (FELA)
     ACCT - Account & Nonmortgage                            RPRO - Real Property
     APAA - Administrative Agency Appeal                     WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ADPA - Administrative Procedure Act                     COMP - Workers’ Compensation
     ANPS - Adults in Need of Protective Service             CVXX - Miscellaneous Circuit Civil Case

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                      MONETARY AWARD REQUESTED                    NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        SEA030                                  10/18/2022 5:11:37 PM                            /s/ WALLACE WHITNEY SEALS
                                            Date                                              Signature of Attorney/Party filing this form


MEDIATION REQUESTED:                            YES    NO      UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                      YES      NO
                                 DOCUMENT 2
                                                             ELECTRONICALLY
       Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 410/18/2022   FILED
                                                                 of 64 5:11 PM
                                                                 08-CV-2022-900123.00
                                                                  CIRCUIT COURT OF
                                                              BLOUNT COUNTY, ALABAMA
                                                               CINDY C. MASSEY, CLERK
     IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

SHARON DORSEY,                      )
                                    )
      PLAINTIFF,                    )
                                    )
v.                                  )     CIVIL ACTION NUMBER:
                                    )     JURY TRIAL DEMANDED
TRANS UNION, LLC;                   )
I C SYSTEM, INC.;                   )
                                    )
      DEFENDANTS.                   )


                               COMPLAINT


      COMES NOW the Plaintiff, SHARON DORSEY, by and through her

undersigned counsel, and for her complaint against Defendants states as

follows:

                       PRELIMINARY STATEMENT

      This is an action for actual, statutory and punitive damages, costs and

attorneys’ fees brought pursuant to the Fair Credit Reporting Act (“FCRA”),

15 U.S.C. §1681, et seq. and the Fair Debt Collection Practices Act (“FDCPA”)

15 U.S.C. §1692, et seq.

                     STATEMENT OF THE PARTIES

      1.    Plaintiff, SHARON DORSEY, is over the age of nineteen (19)

            years and is a resident of the city of Remlap in Blount County,



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     Alabama.

2.   Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

     §1681a(c).

3.   Defendant TRANS UNION, LLC. (hereinafter “Trans Union”) is a

     Delaware limited liability company with its principal place of

     business in Illinois. Trans Union does and has, at all pertinent

     times, done business in the State of Alabama and in Blount

     County.

4.   Trans Union is a nationwide consumer reporting agency as that

     term is defined by 15 U.S.C. §1681a(f).

5.   Defendant IC SYSTEM, INC. (hereinafter “IC System”) is a

     corporation formed under the laws of the State of Minnesota with

     a principal place of business in the State of Minnesota. IC

     System does and has, at all pertinent times, done business in this

     district.

6.   Plaintiff asserts that Defendant IC System is a debt collector as

     defined by the Fair Debt Collection Practices Act at 15 U.S.C.

     §1692(a)(6).

7.   As part of its debt collection business, IC System furnishes

     consumer credit information to credit reporting agencies such as


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      Defendant Trans Union.

8.    Upon information and belief, Defendant Trans Union is regularly

      engaged in the business of assembling, evaluating and disbursing

      information concerning consumers, such as Plaintiff, for the

      purpose of furnishing consumer reports as defined in 15 U.S.C.

      §1681a(f) to third parties.

9.    Upon information and belief Trans Union disburses consumer

      reports to third parties for monetary compensation.

10.   All events herein occurred in Blount County, Alabama.

                    STATEMENT OF FACTS

11.   Plaintiff moved to her current home in 2018. She applied for

      phone and internet service with AT&T. Specifically Plaintiff

      attempted to get AT&T’s U-Verse product.

12.   Unfortunately, AT&T did not offer U-Verse in Plaintiff’s area and

      could not provide U-Verse service to her home.

13.   Despite being unable to provide U-Verse service to Plaintiff,

      AT&T sent Plaintiff’s bills for U-Verse service. Again, U-Verse

      was a service AT&T did not offer in Plaintiff’s area and was not

      available to Plaintiff.

14.   Despite not owing AT&T any money for U-Verse service since she


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       never received U-Verse because it was unavailable in her area,

       AT&T placed a debt for U-Verse services in the amount of

       $151.33 for collections with Defendant IC System.

15.    IC System reported the debt as being owed to “ATT U VERSE”

       and in collection status to Trans Union on or about December 28,

       2020.

16.    Plaintiff learned that this inaccurate U-Verse debt that she did

       not owe was being reported by Trans Union.

                   FIRST DISPUTE LETTER

17.    On or about May 11, 2022, Plaintiff sent Trans Union a dispute

       letter by certified mail that disputed the accuracy of the U-Verse

       debt being reported to Trans Union by IC System.

      RESULTS OF TRANS UNION’S REINVESTIGATION

18.    Trans Union responded to Plaintiff’s May 11, 2022 dispute letter

       on May 24, 2022.

19.    Despite never owing IC System or AT&T U-Verse any money

       since she was unable to even receive the U-Verse service, Trans

       Union, after conducting an investigation, Trans Union updated

       the information being reported but otherwise verified the

       inaccurate information being reported to it by IC System that


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       Plaintiff disputed.

 20.   Trans Union’s investigation results letter to the Plaintiff

       contained the following invitation: “Should you wish to receive

       the above description of the procedures we used to investigate

       your dispute in a separate communication for your records, please

       contact Trans Union.”

PLAINTIFF’S REQUEST FOR PROCEDURES USED BY TRANS
       UNION IN INVESTIGATING HER DISPUTE

 21.   Dissatisfied with Trans Union’s investigation results, Plaintiff

       wrote to Trans Union on August 1, 2022 and requested a

       description of the procedures that Trans Union used to

       investigate her dispute and also asked for the name and address

       of any business or person that Trans Union contacted when it

       investigated her dispute.

 22.   In response, on August 12, 2022, Trans Union sent Plaintiff a

       letter that said it received her letter but that “it didn’t appear

       that you or a properly authorized third party sent it to us.” The

       letter went on to explain requirements of third parties such as

       credit repair companies or “credit clinics.”

 23.   Plaintiff did not retain or engage a credit repair company or



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      credit clinic.

24.   Trans Union’s August 12, 2022 letter failed to provide a

      description of the procedures that Trans Union used to

      investigate Plaintiff’s dispute and also failed to provide the name

      and address of any business or person that Trans Union

      contacted when it investigated Plaintiff’s dispute.

25.   Despite Plaintiff’s dispute and the evidence provided, Trans

      Union failed to conduct a reasonable reinvestigation as requested

      by the Plaintiff and as required by FCRA. Upon information and

      belief Trans Union failed to contact any third parties or other

      entities other than IC System which simply confirmed the

      inaccurate information in its internal records that Plaintiff

      disputed.

26.   At no point did Trans Union contact Plaintiff and tell her that it

      had insufficient information to conduct a reasonable investigation

      of her dispute or that her dispute was of a legal nature rather

      than a factual nature and as such could not reasonably be

      investigated. Instead, rather than conduct any sort of meaningful

      investigation itself, Trans Union simply “parroted” what IC

      System told it regarding the debt, namely to verify the inaccurate


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      information already being reported.

27.   This inaccurate information negatively reflects on Plaintiff, her

      financial responsibility as a debtor and her credit worthiness. As

      a result of the inaccurate and harmful information being

      reported, Plaintiff has been denied credit.

28.   Upon information and belief, despite the requirements of the Fair

      Credit Reporting Act, Trans Union does not itself conduct

      reinvestigations of consumer disputes such as Plaintiff’s, but

      rather outsources its legal duty to conduct reasonable

      reinvestigations of consumer disputes to a third-party entity

      located overseas.

29.   This system, which was intentionally put in place by Trans Union

      in order to save it money, inevitably leads to inadequate and

      incomplete reinvestigations that violate the requirements of

      FCRA such as what occurred in this case.

                     CAUSES OF ACTION

                        COUNT ONE
 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
 15 U.S.C. § 1681 et seq. AS TO DEFENDANT Trans Union

30.   Defendant Trans Union violated 15 U.S.C. § 1681e(b) by failing to

      establish or to follow reasonable procedures to assure maximum


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      possible accuracy in the preparation of the credit report and

      credit files it published and maintained concerning the Plaintiff.

31.   Trans Union violated 15 U.S.C. §1681i by failing to delete

      inaccurate information in the Plaintiff’s credit file after receiving

      actual notice of such inaccuracies; by failing to conduct a

      reasonable and lawful reinvestigation; by failing to forward all

      relevant information to IC System; by failing to maintain

      reasonable procedures with which to filter and verify disputed

      information in the Plaintiff’s credit file and by verifying disputed

      information that Trans Union could not reasonably verify as

      accurate rather than deleting that information as is required

      under 1681i(5). Trans Union additionally failed to comply with

      1681i(B)(7) when it refused to provide Plaintiff with a description

      of the procedures that Trans Union used to investigate Plaintiff’s

      dispute and also failed to provide the name and address of any

      business or person that Trans Union contacted when it

      investigated Plaintiff’s dispute.

32.   As a result of this wrongful conduct, as well as the action and

      inaction on the part of Trans Union, the Plaintiff suffered damage

      including but not limited to loss of credit, loss of the ability to


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      purchase and benefit from credit as well as mental anguish and

      emotional distress, physical pain and anguish, humiliation and

      embarrassment.

33.   Trans Union’s conduct was willful, rendering it liable for punitive

      damages in an amount to be determined by a jury pursuant to 15

      U.S.C. § 1681n. In the alternative, Trans Union was negligent,

      entitling the Plaintiff to recover under 15 U.S.C. § 1681o.

34.   The Plaintiff is entitled to recover costs and attorney’s fees from

      Trans Union in an amount to be determined by the Court

      pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                          COUNT TWO

 VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
 15 U.S.C. § 1681 et seq. AS TO DEFENDANT IC SYSTEM

35.   IC System violated the Fair Credit Reporting Act, 15 U.S.C. §

      1681s-2(b) by continuing to publish to Trans Union inaccurate

      information regarding the alleged account; by failing to fully and

      properly investigate the Plaintiff’s dispute of the inaccurate IC

      System reporting; by failing to review or consider all relevant

      information regarding same; by failing to accurately respond to

      Trans Union; and by failing to correctly report results of an

      accurate investigation to all credit reporting agencies.

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36.   After receiving notification from Trans Union about Plaintiff’s

      disputed account, IC System did not contact any third parties

      other than Trans Union when investigating Plaintiff’s dispute.

      Further, IC System verified the Plaintiff’s account to the Trans

      Union in response to the Plaintiff’s dispute it received from Trans

      Union.

37.   As a result of IC System’s wrongful conduct, action and inaction,

      the Plaintiff suffered damage including but not limited to loss of

      credit, loss of the ability to purchase and benefit from credit as

      well as physical, mental and emotional pain and anguish,

      humiliation and embarrassment.

38.   IC System’s conduct, action and inaction constituted willful

      violations of the FCRA, rendering it liable for actual or statutory

      damages, and punitive damages in an amount to be determined

      by a struck jury pursuant to 15 U.S.C. § 1681n. In the

      alternative, IC System negligently violated the FCRA entitling

      the Plaintiff to recover actual damages under 15 U.S.C. §1681o.

39.   The Plaintiff is entitled to recover costs and attorney’s fees from

      IC System in an amount to be determined by the Court pursuant

      to 15 U.S.C. §1681n and §1681o


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                        COUNT THREE

      VIOLATIONS OF THE FAIR DEBT COLLECTION
       PRACTICES ACT BY DEFENDANT IC SYSTEM

40.   The actions of Defendant IC System and its employees and agents

      constitute violations of the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. § 1692 et seq., with respect to Plaintiff.

41.   IC System, a debt collector, attempted to collect a debt not owed

      by Plaintiff and, upon receipt of Plaintiff’s dispute of the AT&T

      U-Verse debt she did not owe, verified the inaccurate AT&T U-

      Verse debt to Trans Union.

42.   Plaintiff did not owe the AT&T U-Verse debt and was not

      responsible for paying the debt.

43.   IC System’s conduct was in violation of 15 U.S.C § 1692e(2)(A),

      1692e(10).

44.   As a result of Defendant IC System’s violations of the FDCPA,

      Plaintiff is entitled to actual damages pursuant to 15 U.S.C. §

      1692k(a)(1); statutory damages in an amount up to $1,000.00

      pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s

      fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from

      Defendant IC System.

WHEREFORE, PREMISES CONSIDERED, Plaintiff claims of the

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                                    DOCUMENT 2
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Defendants, jointly and severally, statutory, compensatory and punitive

damages, plus interest, costs, reasonable attorney’s fees and any such other

and further relief as this Court deems proper and/or necessary and as is

allowed under FDCPA and FCRA.

          PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY.


                                      /s/ W. Whitney Seals
                                      W. WHITNEY SEALS,
                                      Attorney for Plaintiff


OF COUNSEL:

COCHRUN & SEALS, LLC
P. O. Box 10448
Birmingham, AL 35202-0448
T: (205) 323-3900
F: (205) 323-3906
E: filings@cochrunseals.com

PLAINTIFF’S ADDRESS:
Sharon Dorsey
c/o Plaintiff’s Counsel
P.O. Box 10448
Birmingham, AL 35202-0448

PLEASE SERVE THE DEFENDANTS BY CERTIFIED MAIL, RETURN
RECEIPT REQUESTED TO THE FOLLOWING ADDRESSES:

TRANS UNION, LLC                             IC System, Inc.
c/o Prentice Hall Corporation System, Inc.   c/o C T Corporation System
641 South Lawrence Street                    2 North Jackson St., Suite 605
Montgomery, AL 36104                         Montgomery, AL 36104




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                                                                     CIRCUIT COURT OF
                                                                 BLOUNT COUNTY, ALABAMA
                                                                  CINDY C. MASSEY, CLERK
     IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

SHARON DORSEY,                        )
                                      )
      PLAINTIFF,                      )
                                      )
v.                                    )       CIVIL ACTION NUMBER:
                                      )       JURY TRIAL DEMANDED
TRANS UNION, LLC;                     )
I C SYSTEM, INC.;                     )
                                      )
      DEFENDANTS.                     )


              PLAINTIFF’S FIRST SET OF DISCOVERY TO
                  DEFENDANT TRANS UNION, LLC


      PLEASE TAKE NOTICE that you are hereby notified and required to

respond to the following Interrogatories, Requests for Production and Requests

for Admissions propounded by Plaintiff herein, through her attorney of record

in accordance with the Federal Rules of Civil Procedure.

      You are further placed on notice that these Interrogatories are deemed

continuing, requiring supplemental responses thereto in the event requested

information   becomes   available     which    would   require   amendment     or

supplementation of your responses in order that they would be proper and

truthful.




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                               INSTRUCTIONS

      In answering these Interrogatories, please furnish all information which

is available to you, including, without limitation, all information in the

possession of your attorneys, accountants, affiliates, auditors, agents, employees,

officers, directors, shareholders, contractors, or other personnel, and not merely

such information as is in your possession.

      If you cannot respond to any of the following Interrogatories in full, after

exercising due diligence to secure information to do so, please so state, and

respond to the extent possible, specifying all reasons why you are unable or

unwilling to respond to the remainder, stating whatever information you have

concerning the unproduced information, and what efforts you made to secure

information sufficient to allow you to respond fully to the particular

Interrogatory.

      Although one or more of the following Interrogatories may not appear to

be applicable to or directed to you, please respond to each and every one of them

to the extent that you are able to provide any response thereto whether such

response consists of information within your own knowledge or what you have

obtained from others.     However, for every response in which you include

information received from others, please provide the name, any known address,

and any known phone number of the person from whom you so received such


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information. And, in every such instance please state that you cannot verify

such of your own personal knowledge, identifying particularly the information

for which you cannot vouch. Further, these Interrogatories contain words or

phrases which require you to refer to the "Definitions" section of this document

provided herein below.

      Unless otherwise stated, each Interrogatory pertains to the time period

beginning October, 2020, through the present date. Thus, your responses should

be fully answered as they pertain to information within that time frame.

Further, each Interrogatory should identify the appropriate time frame, if your

response requires same.

                                DEFINITIONS

      1.    "You" includes TRANS UNION, LLC, the company, entity,

institution, agency, subsidiary(ies), parent corporation(s) and/or any of its

branches, departments, employees, agents, contractual affiliates, or otherwise

connected by legal relationship, in the broadest sense. "You" includes any of

your sister companies or related entities whether or not separately incorporated.

You may also be referenced herein simply as "Trans Union."

      2.    "Document(s)" shall mean and include any printed, typewritten,

handwritten or otherwise recorded matter of whatever character, including

specifically, but not exclusively, and without limiting the generality of the


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foregoing, letters, diaries, desk and other calendars, memoranda, telegrams,

posters, cables, reports, charts, statistics, envelopes, studies, newspapers, news

reports, business records, book of account(s) or other books, ledgers, balance

sheets, journals, personal records, personal notes, any piece of paper, parchment,

or other materials similarly used with anything written, typed, printed,

stamped, engraved, embossed, or impressed upon it, accountants statements,

accounting records of any kind, bank statements, minutes of meetings or other

minutes, labels, graphics, notes of meetings or conversations or other notes,

catalogues, written agreements, checks, announcements, statements, receipts,

returns invoices, bills, warranties, advertisements, guarantees, summaries,

pamphlets, prospectuses, bulletins, magazines, publications, photographs, work-

sheets, computer printouts, telex transmissions or receipts, teletypes, telefaxes,

file folders or other folders, tape recordings, and any original or non-identical

(whether different from the original by reason of any notation made on such

copies or otherwise), carbon, photostatic or photograph copies of such materials.

The term "documents" shall also mean and include every other recording of, or

means of recording on any tangible form, any form of information, data,

communication, or representation, including but not limited to, microfilm,

microfiche, any records stored on any form of computer software, audio or video




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tapes or discs, digitally recorded disks or diskettes, or any other medium

whatsoever.

      For each "document" responsive to any request withheld from production

by you on the ground of any privilege, please state:

            (a)     The nature of the document (e.g., letter, memorandum,
                    contract, etc.);

            (b)     The author or sender of the document;

            (c)     The recipient of the document;

            (d)     The date the document was authored, sent, and/or received;
                    and,

            (e)     The reason such document is allegedly privileged.

      3. "Plaintiff" refers to Sharon Dorsey.

      4.    "Other Defendant" means any Defendant in the above entitled and

captioned action.

      5.    “Account” means the AT&T U-Verse account or trade line reported

by IC System, Inc. that is made the basis of the lawsuit and that was reported

by you on Plaintiff’s credit report at any time.

      6.    “ACDV” means automated consumer dispute verification.

                            INTERROGATORIES

INTERROGATORY NO. 1:

      Identify the names, addresses, and telephone numbers of all persons who


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were witness to or who have personal knowledge of any of the facts, events, or

matters that are alleged in Plaintiff’s complaint, your answer, and/or defenses

thereto and describe and explain your understanding of the matters on which

the persons named have knowledge. In addition to identifying said individuals

as specified in the instructions above, please include the following:

      (a)   Please state whether each such person is affiliated with, or related

            to, or employed by any party (or its agents, servants, officers, or

            employees) to this lawsuit;

      (b)   If any of the persons so listed in response to this interrogatory do

            not fit the characterization in subpart (a) above, please describe the

            nature of their involvement in this lawsuit;

      (c)   Please explain and describe your understanding of their knowledge

            of such facts.

INTERROGATORY NO. 2:

      Please state whether, within the last two years, you have reported any IC

System, Inc. accounts or trade lines related to the Plaintiff and, in connection

with your response, please identify the recipients of such reports, the manner

reported, the identifying data connected with any such report.

INTERROGATORY NO. 3:

      If any document responsive to Plaintiff's Request for Production of


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Documents to you is withheld from production, identify each such document by

date, title, subject matter, length and the request to which it is potentially

responsive and state the reason for withholding production, and identify each

person to whom the document was sent, shown, or made accessible, or to whom

it was explained.

INTERROGATORY NO. 4:

      For the May 11, 2022 dispute from the Plaintiff concerning a trade line

or account reported by IC System, Inc., please describe the process of the

reinvestigation and the result of the reinvestigation undertaken by you as set

forth below:

      (a)      State the date the Plaintiff’s dispute was received;

      (b)      Describe the policies and procedures utilized for reinvestigating the

               Plaintiff’s dispute including what documents were or should have

               been consulted or reviewed; what documents were generated as a

               result of the reinvestigation; and the identities or description of who

               was involved in any manner with the reinvestigation;

      (c)      Please describe in detail whether the above described policies and

               procedures for reinvestigating the Plaintiff’s dispute were followed;

               what documents were consulted or reviewed in conducting the

               reinvestigation; what documents were generated as a result of the


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             reinvestigation; the identities of all persons involved in any manner

             with processing or handling the dispute and/or making the decision

             on the reinvestigation; and the result of the reinvestigation.

       (d)   Please also identify any and all documents you sent to IC System,

             Inc. as part of the reinvestigation of Plaintiff’s disputed IC System,

             Inc. account made the basis of this lawsuit.

INTERROGATORY NO. 5:

       Please list, explain and describe each and every contact or communication

you sent to or received from your co-defendants which, in any way, referenced

Plaintiff for the two years prior to the lawsuit. This request would include any

GEIS     [General   Electric    Information     Services]-based    and    E-Oscar

communications, UDFs, AUDFs, CDVs, ACDVs, tape transfers, system to

system transfers, phone calls and other means of communication.

INTERROGATORY NO. 6:

       Did Trans Union use, hire or otherwise engage the services of any third

party in conducting the reinvestigation of Plaintiff’s dispute dated May 11, 2022.

If so, please identify the name of the company or companies and person or

persons who conducted the reinvestigation of Plaintiff’s dispute at the direction

of or on behalf of Trans Union.

INTERROGATORY NO. 7:


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      Please state the amount of time spent by any Trans Union employee or

agent in conducting the reinvestigation of Plaintiff’s May 11, 2022 dispute.

INTERROGATORY NO. 8:

      Please state Trans Union’s net worth and also state the net profit made by

Trans Union from May 2021 through May 2022.

INTERROGATORY NO. 9:

      State any and all communications between Trans Union and IC System,

Inc. that referenced either Plaintiff or the May 11, 2022 dispute letter between

when Trans Union received Plaintiff’s dispute letter and when Trans Union sent

Plaintiff the results of the reinvestigation.

INTERROGATORY NO. 10:

      Trans Union’s May 24, 2022 letter sent to Plaintiff, bearing file number

425882580, containing the results of Trans Union’s reinvestigation stated that

The IC Systems information Plaintiff disputed was “VERIFIED AS

ACCURATE.” Please state specifically how Trans Union verified that the

information that Plaintiff disputed was accurate.

INTERROGATORY NO. 11:

      Please state each and every person or company that Trans Union or its

agents or employees contacted in the course of reinvestigating the Plaintiff’s May

11, 2022 dispute of the IC System, Inc. trade line. For each and every such


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contact, please state:

      a.    The date of the contact;

      b.    The time of the contact;

      c.    The manner or method of the contact;

      d.    The name of the person or company contacted; and

      e.    The contents of any communication with any person or company

            contacted as part of Trans Union’s reinvestigation of Plaintiff’s

            dispute.

INTERROGATORY NO. 12:

      Please state each and every reason why Trans Union refused or failed to

provide Plaintiff with a description of the procedures that Trans Union used to

investigate Plaintiff’s dispute.

INTERROGATORY NO. 13:

      Why did Trans Union write to Plaintiff on August 12, 2022 that it didn’t

appear that Plaintiff sent her August 1, 2022 to Trans Union?

           REQUESTS FOR PRODUCTION OF DOCUMENTS

      1.    Please produce all documents involving communications between
you and IC System, Inc., in which the communication in any way referenced
Plaintiff and/or any of Plaintiff’s personal identifiers.

       2.    Please produce all documents involving or constituting
communications between you and the Plaintiff or anyone acting on or purporting
to act on the Plaintiff’s behalf.


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       3.    Please produce your policy manuals, procedure manuals, or other
documents or videos, which are provided to your employees or independent
contractors concerning retention, alteration, correction, reinvestigation,
dissemination or disposal of data or placed in any report that were in use and in
effect at the time of the incidents made the basis of this lawsuit.

      4.    Please produce your contract, documents, manuals or other recorded
data, concerning your subscriber relationship with the IC System, Inc. for the
three years prior to the lawsuit.

      5.     Please produce your documents which evidence, constitute and/or
address your policies, procedures and guidelines for reinvestigating consumer
disputes, such as Plaintiff’s May 11, 2022 dispute, that were in effect at the
time of the incidents made the basis of this lawsuit.

      6.     Please produce all of your documents evidencing or including data,
including but not limited to the personnel files, concerning the names, addresses,
telephone numbers, current employers and current whereabouts of each and
every one of your employees and/or agents and/or independent contractors who
communicated with Plaintiff or who conducted the reinvestigation of the
Plaintiff’s May 11, 2022 dispute.

       7.    Please produce all documents which constitute consumer dispute
verification (CDV's or ACDV’s), Universal Data correction forms, ACIS cases,
relevant frozen scans, correspondence with any consumer reporting agency or
data furnisher, data deletion forms, or other documents which request an
alteration and/or deletion of data you or any other Defendant, individual or
entity had reported about Plaintiff, which contained any one of Plaintiff's
personal identifiers.

      8.     Please produce a copy of any document including any ACDV sent to
or received from IC System, Inc. as a result of or during the reinvestigation of
Plaintiff’s May 11, 2022 dispute.

      9.     If Trans Union used, hired or retained the services of any third-party
to conduct the reinvestigation of Plaintiff’s May 11, 2022 dispute, please produce
a copy of any agreement or contract between Trans Union and that third-party
that relates to policies and procedures for handling consumer disputes such as
Plaintiff’s May 11, 2022 dispute and that states the compensation paid to said


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third-party for handling consumer disputes such as Plaintiff’s May 11, 2022
dispute.

      10. Please produce any and all documents identified, relied upon or
referred to by you in your responses to Plaintiff’s interrogatories.

                    REQUESTS FOR ADMISSIONS

     1.    Admit or deny that you received a letter from Plaintiff dated May
           11, 2022.

     RESPONSE:

     2.    Admit or deny that Plaintiff’s May 11, 2022 letter to Trans Union
           disputed the completeness or accuracy of information on her credit
           report that related to IC System, Inc.

     RESPONSE:

     3.    Admit or deny that Trans Union did not send a copy of Plaintiff’s
           May 11, 2022 dispute letter to IC System, Inc. within five (5)
           business days of the date that Trans Union received the dispute
           letter.

     RESPONSE:

     4.    Admit or deny that Trans Union’s employees or agents who
           processed Plaintiff’s May 11, 2022 dispute of the IC System, Inc.
           item on her credit report complied with all relevant Trans Union
           policies or procedures in and about reinvestigating Plaintiff’s May
           11, 2022 dispute of the IC System, Inc. item on her credit report.

     RESPONSE:

     5.    Admit or deny that Trans Union is required to comply with the
           requirements of the Fair Credit Reporting Act when it
           reinvestigates disputes such as Plaintiff’s May 11, 2022 dispute of
           the IC System, Inc. item on her credit report.

     RESPONSE:

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     6.    Admit or deny that Trans Union did not rely on any source of
           information other than IC System, Inc. in the reinvestigation of
           Plaintiff’s May 11, 2022 dispute.

     RESPONSE:

                                   /s/ W. Whitney Seals
                                  W. WHITNEY SEALS,
                                  Attorney for Plaintiff

OF COUNSEL:

COCHRUN & SEALS, LLC
P. O. Box 10448
Birmingham, AL 35202-0448
T: (205) 323-3900
F: (205) 323-3906
E: filings@cochrunseals.com


  TO BE SERVED WITH SUMMONS AND COMPLAINT




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                                                                    CIRCUIT COURT OF
                                                                BLOUNT COUNTY, ALABAMA
                                                                 CINDY C. MASSEY, CLERK
     IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

SHARON DORSEY,                        )
                                      )
      PLAINTIFF,                      )
                                      )
v.                                    )     CIVIL ACTION NUMBER:
                                      )     JURY TRIAL DEMANDED
TRANS UNION, LLC;                     )
I C SYSTEM, INC.;                     )
                                      )
      DEFENDANTS.                     )


      NOTICE TO TAKE DEPOSITION OF 30(b)(6) CORPORATE
              REPRESENTATIVE OF DEFENDANT
                     TRANS UNION, LLC


       Take notice, that the Plaintiff will take the deposition of the following
entities or individuals pursuant to Rule 30 of the Federal Rules of Civil
Procedure. The deponent(s) must bring all documents listed in this
deposition notice and any attachments, and present the originals of these
documents for inspection and copying at the deposition. The deposition will
continue until completed.

DEPONENT:          Corporate Representative(s) of Defendant TRANS UNION,
                   LLC:

DATE:              TBD

TIME:              TBD

PLACE:             TBD

       Please note that pursuant to the Rules of Civil Procedure 30(b)(5) & (6),
this corporate Defendant must designate an individual to testify as to the
following matters:
       1.    All allegations of fact stated in the complaint in this lawsuit.

      2.    All affirmative defenses asserted by the Defendant.
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3.    Whether or not Defendant’s credit reporting on the subject
      account was accurate.

4.    The policies, procedures and practices put in place by the
      Defendant to ensure that the investigations or reinvestigations
      initiated by Plaintiff would result in accurate credit reporting
      relating to Plaintiff.

5.    The definition of “accurate” and “verified” as those terms are used
      in Defendant’s investigation or reinvestigation process.

6.    The nature and content of any records maintained by the
      Defendant, including archived copies and recorded conversations
      relating to the investigation or reinvestigation of any trade lines
      appearing on Plaintiff’s credit report.

7.    The number of reinvestigations of credit disputes handled by the
      Defendant on an annual basis and economic resources
      attributable to those investigations or reinvestigations.

8.    Any quotas or productivity targets for the Defendant’s
      reinvestigators of credit disputes.

9.    Amount paid to and training provided to the employees or third
      parties responsible for reinvestigating disputed credit reportings
      made by the Defendant.

10.   The documents and informational resources (such as access to a
      telephone or a computer with internet) available to the
      Defendant’s employees or third parties who are responsible for
      reinvestigating disputed credit reportings made by the
      Defendant.

11.   The budgetary allocation of resources of the Defendant to
      reinvestigations of credit reporting disputes.

12.   The existence, nature, and content of any training provided to
      Defendant’s employees or agents conducting reinvestigations.

13.   The nature, purpose, and means by which requests for
      reinvestigation are received and by which response may be made.
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14.   The identity, content, and number of computer systems used to
      maintain data on consumers, their accounts, collections or
      applications and the access given to each of those systems.

15.   Scope of Defendant’s employees’ or third parties retained by
      Defendant’s authority to correct credit reporting errors.

16.   Outsourcing by Defendant of any of the investigation or
      reinvestigation process to any third party.

17.   The existence and content of any policy or procedure for handling
      credit reporting reinvestigations.

18.   The documents which are regularly maintained by the Defendant
      relative to any investigation or reinvestigation or credit
      reporting, and the content of those documents relative to the
      Plaintiff.

19.   The identity of any known witnesses to the allegations of fact
      stated in the complaint or the affirmative defenses asserted by
      the Defendant.

20.   The authenticity of any documents identified in any of the
      disclosures, pleadings, or discovery responses.

21.   The identity and expert credentials of any of the Defendant’s
      employees or witnesses who were involved with or handled
      Plaintiff’s account and/or any investigation or reinvestigation
      relative to Plaintiff’s accounts.

22.   Any communications between the Defendant and the Plaintiff
      relating to the investigation or reinvestigation of any credit
      reporting relating to the Plaintiff.

23.   Any releases or waivers signed by the Plaintiff.

24.   Any insurance or bonding carried by the Defendant, which may
      provide coverage for the allegations in Plaintiff’s complaint.
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25.   Whether or not the Plaintiff is a consumer as defined by the Fair
      Credit Reporting Act, 15 U.S.C. §§ 1681 et seq (“FCRA”) at §
      1681a(c).

26.   The existence of, date of and receipt of any disputes from the
      Plaintiff regarding Plaintiff’s credit report.

27.   The procedures in place at the Defendant to ensure that false or
      inaccurate information is not reported on any consumer’s credit
      report.

28.   Whether or not the Defendant has reported credit information
      relating to any of Plaintiff’s personal identifiers including but not
      limited to name, address and social security number.

29.   The time, place, manner, and content of any reporting of credit
      information relating to any of Plaintiff’s personal identifiers
      including but not limited to name, address and social security
      number.

30.   The content of each available data field or segment reported
      relating to any of Plaintiff’s personal identifiers including but not
      limited to name, address and social security number.

31.   The capability of the Defendant’s computer to reproduce records
      of past credit reportings of the Plaintiff.

32.   Whether or not Plaintiff disputed any credit information,
      supplied by the Defendant, which reportings related to any of
      Plaintiff’s personal identifiers including but not limited to name,
      address and social security number and the contents of said
      dispute.

33.   The time and form in which any consumer dispute was received
      from Plaintiff or from anyone acting on his behalf or purporting to
      act on his behalf, and the identity of any persons reviewing or
      acting on any dispute.

34.   The time, place, and manner in which any actions were taken in
      response to any such notice of a consumer dispute.
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35.   The steps and measures that were taken in the course of
      investigating or reinvestigating any credit information supplied
      by the furnisher, which credit information related to any of
      Plaintiff’s personal identifiers including but not limited to name,
      address and social security number.

36.   The content of any information which was used in order to
      investigate or reinvestigate any credit reporting dispute by
      Plaintiff’s of credit information supplied by or to the Defendant.

37.   The identity of any individual who participated in or supervised
      any investigation or reinvestigation of a credit reporting dispute
      by Plaintiff’s of credit information supplied by or to the
      Defendant.

38.   The existence and nature of the legal relationship between the
      furnisher and this Defendant.

39.   Whether or not the Defendant’s actions in relation to its reporting
      of credit data relating to the Plaintiff was willful.

40.   Whether or not this Defendant willfully failed in its duties to
      properly investigate or reinvestigate credit disputes sent by the
      Plaintiff to consumer reporting agencies.

41.   Whether or not the Defendant’s actions in investigating or
      reinvestigating its credit reporting relating to the Plaintiff was
      willful.

42.   The motive and intent of the Defendant’s actions in relation to its
      reporting and investigation or reinvestigation of the credit
      information relating to Plaintiff’s personal identifiers.

43.   Defendant’s procedures to comply with § 1681(e) requirements.

44.   The nature of the business relationship between Trans Union any
      third party it may retain to conduct all or part of any
      reinvestigation of any consumer dispute.
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45.   The amount of money paid by Trans Union to any third party it
      may retain to conduct all or part of any reinvestigation of any
      consumer dispute to handle consumer dispute investigations.

46.   The extent to which Trans Union provides training to the
      employees of any third party it may retain to conduct all or part
      of any reinvestigation of any consumer dispute.

47.   The extent to which Trans Union audits or otherwise provides
      oversight to the investigations of consumer disputes handled by
      any third party it may retain to conduct all or part of any
      reinvestigation of any consumer dispute.

48.   The ability of any employees of any third party retained by Trans
      Union to access telephones and the internet in conducting their
      investigations of consumer disputes.

49.   Whether or not the employees of any third party who handle
      consumer disputes receive documentation included by consumers
      with their disputes.

50.   The reason(s) why Trans Union verified the IC System account
      disputed by the Plaintiff as accurate.

51.   Whether or not Trans Union or any third party retained by Trans
      Union to conduct the reinvestigation of Plaintiff’s dispute
      followed Trans Union’s policies and procedures and/or violated
      any provision of the FCRA.

52.   The scope and extent of this Defendant’s reinvestigation of
      Plaintiff’s dispute.

53.   The identity of any third party or parties contacted by this
      Defendant or its employees or agents in conducting the
      reinvestigation of Plaintiff’s dispute.

54.   The information relied upon by this Defendant in verifying the IC
      System, Inc. account disputed by the Plaintiff as accurate.

55.   The amount of time spent by any employee or agent on the
      reinvestigation of Plaintiff’s dispute.
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     56.   The policies and procedures that Trans Union applied to
           Plaintiff’s August 1, 2022 correspondence requesting information
           relating to the dispute investigation process.

     57.   The reason(s) why Trans Union failed or refused to provide
           Plaintiff with a description of the procedures that Trans Union
           used to investigate her dispute and the failure or refusal to
           identify by name and address any entities Trans Union contacted
           in the course of investigating Plaintiff’s dispute.

                              DUCES TECUM

      PLEASE TAKE FURTHER NOTICE that, the designated
representative(s) of Defendant must bring the following documents with them
to the deposition: All documents responsive to the Request for Production of
Documents and documents related to the topics referenced above.


                                         /s/ W. Whitney Seals
                                         W. WHITNEY SEALS,
                                         Attorney for Plaintiff


OF COUNSEL:
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E: filings@cochrunseals.com


  TO BE SERVED WITH SUMMONS AND COMPLAINT
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                                                                      CIRCUIT COURT OF
                                                                  BLOUNT COUNTY, ALABAMA
                                                                   CINDY C. MASSEY, CLERK
     IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

SHARON DORSEY,                         )
                                       )
      PLAINTIFF,                       )
                                       )
v.                                     )       CIVIL ACTION NUMBER:
                                       )       JURY TRIAL DEMANDED
TRANS UNION, LLC;                      )
I C SYSTEM, INC.;                      )
                                       )
      DEFENDANTS.                      )


              PLAINTIFF’S FIRST SET OF DISCOVERY TO
                   DEFENDANT IC SYSTEM, INC.


      PLEASE TAKE NOTICE that you are hereby notified and required to

respond to the following Interrogatories, Requests for Production and Requests

for Admissions propounded by Plaintiff herein, through his attorney of record in

accordance with the Alabama Rules of Civil Procedure.

      You are further placed on notice that these Interrogatories are deemed

continuing, requiring supplemental responses thereto in the event requested

information   becomes    available     which    would   require   amendment     or

supplementation of your responses in order that they would be proper and

truthful.

                              INSTRUCTIONS

      In answering these Interrogatories, please furnish all information which


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is available to you, including, without limitation, all information in the

possession of your attorneys, accountants, affiliates, auditors, agents, employees,

officers, directors, shareholders, contractors, or other personnel, and not merely

such information as is in your possession.

      If you cannot respond to any of the following Interrogatories in full, after

exercising due diligence to secure information to do so, please so state, and

respond to the extent possible, specifying all reasons why you are unable or

unwilling to respond to the remainder, stating whatever information you have

concerning the unproduced information, and what efforts you made to secure

information sufficient to allow you to respond fully to the particular

Interrogatory.

      Although one or more of the following Interrogatories may not appear to

be applicable to or directed to you, please respond to each and every one of them

to the extent that you are able to provide any response thereto whether such

response consists of information within your own knowledge or what you have

obtained from others.     However, for every response in which you include

information received from others, please provide the name, any known address,

and any known phone number of the person from whom you so received such

information. And, in every such instance please state that you cannot verify

such of your own personal knowledge, identifying particularly the information


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for which you cannot vouch. Further, these Interrogatories contain words or

phrases which require you to refer to the "Definitions" section of this document

provided herein below.

      Unless otherwise stated, each Interrogatory pertains to the time period

beginning October, 2021, through the present date. Thus, your responses should

be fully answered as they pertain to information within that time frame.

Further, each Interrogatory should identify the appropriate time frame, if your

response requires same.

                                DEFINITIONS

      1.    "You" includes IC SYSTEM, INC., the company, entity, institution,

agency, subsidiary(ies), parent corporation(s) and/or any of its branches,

departments, employees, agents, contractual affiliates, or otherwise connected

by legal relationship, in the broadest sense. "You" includes any of your sister

companies or related entities whether or not separately incorporated. You may

also be referenced herein simply as "IC System."

      2.    "Document(s)" shall mean and include any printed, typewritten,

handwritten or otherwise recorded matter of whatever character, including

specifically, but not exclusively, and without limiting the generality of the

foregoing, letters, diaries, desk and other calendars, memoranda, telegrams,

posters, cables, reports, charts, statistics, envelopes, studies, newspapers, news


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reports, business records, book of account(s) or other books, ledgers, balance

sheets, journals, personal records, personal notes, any piece of paper, parchment,

or other materials similarly used with anything written, typed, printed,

stamped, engraved, embossed, or impressed upon it, accountants statements,

accounting records of any kind, bank statements, minutes of meetings or other

minutes, labels, graphics, notes of meetings or conversations or other notes,

catalogues, written agreements, checks, announcements, statements, receipts,

returns invoices, bills, warranties, advertisements, guarantees, summaries,

pamphlets, prospectuses, bulletins, magazines, publications, photographs, work-

sheets, computer printouts, telex transmissions or receipts, teletypes, telefaxes,

file folders or other folders, tape recordings, and any original or non-identical

(whether different from the original by reason of any notation made on such

copies or otherwise), carbon, photostatic or photograph copies of such materials.

The term "documents" shall also mean and include every other recording of, or

means of recording on any tangible form, any form of information, data,

communication, or representation, including but not limited to, microfilm,

microfiche, any records stored on any form of computer software, audio or video

tapes or discs, digitally recorded disks or diskettes, or any other medium

whatsoever.

      For each "document" responsive to any request withheld from production


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by you on the ground of any privilege, please state:

            (a)    The nature of the document (e.g., letter, memorandum,
                   contract, etc.);

            (b)    The author or sender of the document;

            (c)    The recipient of the document;

            (d)  The date the document was authored, sent, and/or received;
            and,

            (e)    The reason such document is allegedly privileged.

      3. "Plaintiff" refers to Sharon Dorsey.

      4. "Other Defendant" means any other Defendant in the above entitled

and captioned action.

      5. “Dispute Letter” refers to Plaintiff’s May 11, 2022 dispute letter.

      6. "Account" means the AT&T U-Verse account that IC System was

reporting on Plaintiff’s credit report that is the basis of this lawsuit.

      7.    “ACDV” means automated consumer dispute verification.

                             INTERROGATORIES

INTERROGATORY NO. 1:

      Identify the names, addresses, and telephone numbers of all persons who

were witness to or who have personal knowledge of any of the facts, events, or

matters that are alleged in Plaintiff’s complaint, your answer, and/or defenses

thereto and describe and explain your understanding of the matters on which


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                                   DOCUMENT 5
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the persons named have knowledge. In addition to identifying said individuals

as specified in the instructions above, please include the following:

      (a)   Please state whether each such person is affiliated with, or

            related to, or employed by any party (or its agents, servants,

            officers, or employees) to this lawsuit;

      (b)   If any of the persons so listed in response to this interrogatory do

            not fit the characterization in subpart (a) above, please describe

            the nature of their involvement in this lawsuit;

      (c)   Please explain and describe your understanding of their

            knowledge of such facts.

INTERROGATORY NO. 2:

      Please state whether you have reported the IC System account relating to

the Plaintiff to any entity, including, but not limited to, any credit bureau and,

in connection with your response, please identify the recipients of such reports,

the manner reported, the identifying data connected with the report, and explain

and describe the manner and identifiers under which you received the

information.

INTERROGATORY NO. 3:

      State all of the facts and describe all actions you took, including, but not

limited to, correspondence and communications with any consumer reporting


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                                    DOCUMENT 5
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agency, creditor or potential creditor, or the Plaintiff, with regard to or which in

any way references the Plaintiff and/or the IC System Account for the two years

prior to the lawsuit.

INTERROGATORY NO. 4:

      State whether you have reported data on the Plaintiff's consumer reports

which is inaccurate and, if so, state why such inaccurate information was placed

on his/her/their consumer report(s), state the date(s) such report(s) was (were)

issued, to whom the report(s) was (were) issued, and state what you could and

should have done to prevent the inaccurate data from being reported on

Plaintiff’s consumer report(s) for the four years prior to the lawsuit.

INTERROGATORY NO. 5:

      State your procedures (and identify all documents related thereto)

designed to ensure the proper investigation or reinvestigation of disputed

consumer data and the overall accuracy of the information in your consumer

credit database and consumer reports you issued that was in use and in effect

at the time of the incidents made the basis of this lawsuit.

INTERROGATORY NO. 6:

With regard to the Plaintiff’s dispute letter, dated May 11, 2022, please

describe the process of the reinvestigation and the result of the

reinvestigation as set forth below:


                                   Page 7 of 12
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      (a)   List the date Plaintiff’s dispute was received from Trans Union;

      (b)   List the date IC System responded to the Plaintiff’s dispute;

      (c)   Describe the policy and procedure for investigating the dispute

            including what documents are to be consulted or reviewed; what

            documents are to be generated; and the identities or description of

            who is to be involved in any manner with making the decisions;

      (d)   For Plaintiff’s dispute, describe in detail whether the above

            described policy and procedure for investigating the dispute was

            followed; what documents were consulted or reviewed; what

            documents were generated; the identities of all persons involved in

            any manner with processing or handling the dispute and/or making

            the decision on the investigation; and the result of the investigation.

      (e)   State what documents, if any, were received from Trans Union.

INTERROGATORY NO. 7:

      Please identify or state what information or documents IC System relied

upon in conducting the reinvestigation of Plaintiff’s May 11, 2022 dispute.

INTERROGATORY NO. 8:

      Please state why IC System confirmed or reported to Trans Union that the

Account was accurate and that it belonged to Plaintiff after reinvestigating the

Plaintiff’s May 11, 2022 dispute.


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INTERROGATORY NO. 9:

      Please identify by name and job title each person at IC System that

conducted any part of the reinvestigation of Plaintiff’s May 11, 2022 dispute.

INTERROGATORY NO. 10:

      Please state each and every person or company that IC System or its

agents or employees contacted in the course of reinvestigating the Plaintiff’s May

11, 2022 dispute of the IC System trade line. For each and every such contact,

please state:

      a.    The date of the contact;

      b.    The time of the contact;

      c.    The manner or method of the contact;

      d.    The name of the person or company contacted; and

      e.    The contents of any communication with any person or company

            contacted as part of IC System’s reinvestigation of Plaintiff’s

            dispute.

INTERROGATORY NO. 12:

      Did you use, hire or otherwise engage the services of any third party in

conducting the reinvestigation of Plaintiff’s dispute dated May 11, 2022? If so,

please identify the name of the company or companies and person or persons

who conducted the reinvestigation of Plaintiff’s dispute at the direction of or on


                                  Page 9 of 12
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behalf of IC System.

           REQUESTS FOR PRODUCTION OF DOCUMENTS

      1.    Please produce all documents involving communications between
 you and Defendant Trans Union, in which the communication in any way
referenced Plaintiff and/or any of Plaintiff’s personal identifiers.

       2.    Please produce all documents involving or constituting
communications between you and the Plaintiff or anyone acting on or purporting
to act on the Plaintiff’s behalf.

      3.    Please produce your policy manuals, procedure manuals, or other
documents, which address your policies, practices or procedures in reporting
data to credit reporting agencies during each of the years:2021 and 2022.

      4.    Please produce your policy manuals, procedure manuals, or other
documents, which address your policies, practices or procedures for altering
previously reported data during each of the years: 2021 and 2022.

      5.     Please produce your policy manuals, procedure manuals, or other
documents, which address your policies, practices or procedures for
reinvestigating account information disputed by consumers that was in effect at
the time of the reinvestigation of Plaintiff’s May 11, 2022 dispute.

      6.     Please produce your contract, documents, manuals or other recorded
data, concerning your subscriber relationships with Trans Union for the three
years prior to the lawsuit.

      7.    Please produce your documents which evidence, constitute and/or
address your policies, procedures and guidelines for handling Consumer
Disputes, including but not limited GEIS [General Electric Information
Services]-based and E-Oscar communications, UDFs, AUDFs, CDVs, ACDVs,
tape transfers, system to system transfers, phone calls, and other means, by
whatever named called, of communication to any other agency, entity,
consumer reporting agency or furnisher that were in effect at the time of the
reinvestigation of Plaintiff’s May 11, 2022 dispute.

       8.   Please produce all documents which constitute consumer dispute
verification (CDV's and/or ACDV’s), Universal Data correction forms,

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correspondence with any consumer reporting agency, data deletion forms, or
other documents which reference or were generated as a result of Plaintiff’s May
11, 2022 dispute.

      9.    Please produce your documents and/or correspondence in your, or
your attorney's, possession that refer to or relate to any facts which you believe
may have any bearing upon this lawsuit or any defenses you have raised in this
lawsuit, excluding communications between you and your attorney(s).

      10. Please produce copies of your documents evidencing telephone
messages, log books or other regularly maintained records by you which contain
information about communications between you and Plaintiff and/or Trans
Union that relate to the Plaintiff in this action.

      11. Please produce all documents which refer in any manner to the
Plaintiff or any of Plaintiff’s account at issue in this case.

      12. Please produce any and all documents identified, relied upon or
referred to by you in your responses to Plaintiff’s interrogatories.

                      REQUESTS FOR ADMISSIONS

      1.    Admit or deny that Plaintiff did not owe the Account that IC System
            was attempting to collect and that IC System reported to Trans
            Union.

      RESPONSE:

      2.    Admit or deny that IC System wrongly verified to Trans Union the
            information disputed by Plaintiff in her May 11, 2022 dispute was
            accurate.

      RESPONSE:

      3.    Admit or deny that IC System’s employees or agents who processed
            Plaintiff’s May 11, 2022 dispute of the IC System Collection Service,
            Inc. item on her credit report complied with all relevant IC System
            policies or procedures in and about reinvestigating Plaintiff’s May
            11, 2022 dispute of the IC System Collection Service, Inc. item on
            her credit report.

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                                DOCUMENT 5
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     RESPONSE:

     4.    Admit or deny that IC System is required to comply with the
           requirements of the Fair Credit Reporting Act when it processes
           disputes such as Plaintiff’s May 11, 2022 dispute of the IC System
           Collection Service, Inc. item on her credit report.

     RESPONSE:

     5.    Admit or deny that IC System did not rely on any source of
           information other than IC System’s own internal records in the
           reinvestigation of Plaintiff’s May 11, 2022 dispute.

     RESPONSE:



                                    /s/ W. Whitney Seals
                                  W. WHITNEY SEALS,
                                  Attorney for Plaintiff


OF COUNSEL:

COCHRUN & SEALS, LLC
P. O. Box 10448
Birmingham, AL 35202-0448
T: (205) 323-3900
F: (205) 323-3906
E: filings@cochrunseals.com




  TO BE SERVED WITH SUMMONS AND COMPLAINT




                               Page 12 of 12
                                  DOCUMENT 6
      Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 PageELECTRONICALLY
                                                              4810/18/2022    FILED
                                                                  of 64 5:11 PM
                                                                  08-CV-2022-900123.00
                                                                   CIRCUIT COURT OF
                                                               BLOUNT COUNTY, ALABAMA
                                                                CINDY C. MASSEY, CLERK
     IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

SHARON DORSEY,                       )
                                     )
      PLAINTIFF,                     )
                                     )
v.                                   )     CIVIL ACTION NUMBER:
                                     )     JURY TRIAL DEMANDED
TRANS UNION, LLC;                    )
I C SYSTEM, INC.;                    )
                                     )
      DEFENDANTS.                    )


      NOTICE TO TAKE DEPOSITION OF 30(b)(6) CORPORATE
              REPRESENTATIVE OF DEFENDANT
             REPRESENTATIVE OF IC SYSTEM, INC.


       Take notice, that the Plaintiff will take the deposition of the following
entities or individuals pursuant to the Rules of Civil Procedure. The
deponent(s) must bring all documents listed in this deposition notice and any
attachments, and present the originals of these documents for inspection and
copying at the deposition. The deposition will continue until completed.

DEPONENT:         Corporate Representative(s) of IC System, Inc.
DATE:             TBD
TIME:             TBD
PLACE:            TBD

       Please note that pursuant to the Rules of Civil Procedure 30(b)(5) & (6),
this corporate Defendant must designate an individual to testify as to the
following matters:

      1.    The Defendant’s investigation into the claims made by Plaintiff in
            the Complaint.

      2.    The allegations of the Complaint and any amendments thereto.

      3.    The details and contents of all Defendant’s personnel files of any
            person who was involved in any collection activities,
                            DOCUMENT 6
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      reinvestigation or credit reporting related to Plaintiff’s alleged
      account.

4.    All documentation methods, if any, whether computerized,
      manual, or other, of all activities undertaken by the Defendant or
      its employees or agents related to the collection of account(s)
      made the basis of Plaintiff's Complaint.

5.    Any correspondence between this Defendant and Plaintiff.

6.    The factual basis for the Defendant’s Answer (and any
      amendments).

7.    The factual basis for the Defendant’s defenses and affirmative
      defenses contained in the Answer (and any amendments).

8.    The maintenance of procedures by Defendant to avoid violations
      of the Fair Credit Reporting Act.

9.    All documents produced to Plaintiff by Defendant in the course of
      this case.

10.   All documents referenced or identified in Defendant’s initial
      disclosures or discovery responses.

11.   The history, specific details, and resolution of any formal and
      informal consumer-initiated complaints, Better Business Bureau
      Complaints, lawsuits, regulatory actions, claims, litigations,
      mediations, arbitrations, Commerce department actions, or other
      actions, legal or otherwise, connected to or arising out of
      Defendants’ consumer debt collection activities, in the period from
      three (3) years prior to the date of this notice to the present.

12.   All communications between you and any other Defendant in this
      case in any way related to Plaintiff.

13.   All discovery responses by Defendant to any discovery requests.

14.   Whether or not Defendant’s credit reportings to the major credit
      reporting agencies relating to Plaintiff were accurate.
                            DOCUMENT 6
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15.   Whether or not Plaintiff owes or ever owed money to AT&T U-
      Verse or to IC System, Inc.

16.   The policies, procedures and practices put in place by the
      Defendant to insure that the investigations or reinvestigations
      initiated by Plaintiff (whether directly to Defendant or through a
      CRA) would result in accurate credit reportings relating to
      Plaintiff.

17.   The definition of “accurate” and “verifiable” as those terms are
      used in Defendant’s investigation or reinvestigation process.

18.   The nature and content of any records maintained by the
      Defendant--including archived copies and recorded conversations-
      -relating to the reinvestigation of any trade lines appearing on
      Plaintiff’s credit report.

19.   The existence and content of any reports or documents assessing
      the accuracy or reliability of credit reporting submitted by
      Defendant including any reports to or by the credit reporting
      agencies regarding the accuracy and reliability of those
      reportings.

20.   Amount paid to and training provided to the employees
      responsible for reinvestigating disputed credit reportings made by
      the Defendant.

21.   The documents and informational resources available to the
      Defendant’s employees who are responsible for reinvestigating
      disputed credit reportings made by the Defendant.

22.   The existence, nature, and content of any training provided to
      Defendant’s employees or agents conducting reinvestigations.

23.   The nature, purpose, and means by which requests for
      reinvestigation are received and by which response may be made.

24.   Scope of Defendant’s employees’ authority to correct credit
      reporting errors.
                            DOCUMENT 6
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25.   The existence and content of any policy or procedure for handling
      credit reporting reinvestigations.

26.   The documents which are regularly maintained by the Defendant
      relative to any investigation or reinvestigation or credit
      reporting, and the content of those documents relative to the
      Plaintiff.

27.   The identity of any known witnesses to the allegations of fact
      stated in the complaint or the affirmative defenses asserted by
      the Defendant.

28.   The identity and credentials of any of the Defendant’s employees
      or witnesses who were involved with or handled Plaintiff’s
      account and/or any investigation or reinvestigation relative to
      Plaintiff’s accounts.

29.   Any communications between the Defendant and the Plaintiff or
      any other entity or person relating to the investigation or
      reinvestigation of any credit reporting relating to the Plaintiff.

30.   Any releases or waivers signed by the Plaintiff.

31.   The manner in which the Defendant reports or otherwise
      furnishes credit information to credit reporting agencies.

32.   The procedures in place at the Defendant to insure that false or
      inaccurate information is not reported on any consumer’s credit
      report or to any credit reporting agency.

33.   The content of each available data field or segment reported
      relating to any of Plaintiff’s personal identifiers including but not
      limited to name, address and social security number.

34.   The capability of the Defendant’s computer to reproduce records
      of past credit reportings to consumer reporting agencies.

35.   The policy, practice, and procedure relating to incomplete
      reporting of the available data fields or segments reported to
      credit reporting agencies.
                            DOCUMENT 6
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36.   Whether Plaintiff disputed any credit information, supplied by
      the Defendant, which reportings related to any of Plaintiff’s
      personal identifiers including but not limited to name, address
      and social security number and the contents of said dispute.

37.   Whether or not the Defendant received notice from any consumer
      reporting agency that Plaintiff disputed any credit information,
      supplied by the Defendant, which reportings related to any of
      Plaintiff’s personal identifiers including but not limited to name,
      address and social security number and the contents of said
      dispute.

38.   The time and form in which any dispute for the Plaintiff either
      directly or through a credit bureau was received, and the identity
      of any persons reviewing or acting on it.

39.   The time, place, and any actions taken in response to any notice
      or dispute from the Plaintiff either directly or through a credit
      bureau.

40.   The steps and measures that were taken in the course of
      investigating or reinvestigating any credit information supplied
      by the Defendant, which credit information related to any of
      Plaintiff’s personal identifiers including but not limited to name,
      address and social security number.

41.   The content of any information which was used in order to
      investigate or reinvestigate any credit reporting dispute by
      Plaintiff of credit information supplied by the Defendant.

42.   The existence and nature of the legal relationship between the
      Defendant and any consumer reporting agencies to which it
      reports credit information.

43.   Any conditions under which the Defendant has agreed to make its
      data available to the any consumer reporting agency to which it
      reports credit information.

44.   The policy and procedure for when a consumer, such as Plaintiff,
      disputes that a trade line reported by this Defendant to any of the
      credit reporting bureaus is the consumer’s account.
                                 DOCUMENT 6
      Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 53 of 64




     45.   The policy and procedure upon receipt of documents that support
           a consumer’s dispute such as those provided by Plaintiff to the
           credit bureaus with Plaintiff’s dispute letter in this case.

     46.   Any document or other evidence in the Defendant’s possession or
           known to the Defendant that establishes that Plaintiff is indebted
           to this Defendant in any way or is in any way responsible for the
           debt involved in this lawsuit.

     47.   Policies and procedures that safeguard against collection efforts
           being directed at consumers who do not owe the debts this
           Defendant is attempting to collect.

     48.   The policies and procedures in use by this Defendant to avoid
           violations of FDCPA and FCRA.


                              DUCES TECUM

      PLEASE TAKE FURTHER NOTICE that, the designated
representative(s) of Defendant must bring the following documents with them
to the deposition: All documents responsive to the Request for Production of
Documents and documents related to the topics referenced above.


                                    /s/ W. Whitney Seals
                                   W. WHITNEY SEALS,
                                   Attorney for Plaintiff

OF COUNSEL:
COCHRUN & SEALS, LLC
P. O. Box 10448
Birmingham, AL 35202-0448
T: (205) 323-3900
F: (205) 323-3906
E: filings@cochrunseals.com

  TO BE SERVED WITH SUMMONS AND COMPLAINT
                                            DOCUMENT 7
           Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 54 of 64


                                      AlaFile E-Notice




                                                                         08-CV-2022-900123.00


To: WALLACE WHITNEY SEALS
    anita@cochrunseals.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

                         SHARON DORSEY V. TRANS UNION, LLC ET AL
                                  08-CV-2022-900123.00

                     The following complaint was FILED on 10/18/2022 5:11:43 PM




    Notice Date:    10/18/2022 5:11:43 PM




                                                                           CINDY C. MASSEY
                                                                       CIRCUIT COURT CLERK
                                                                   BLOUNT COUNTY, ALABAMA
                                                                    220 SECOND AVENUE EAST
                                                                                  ROOM 208
                                                                          ONEONTA, AL, 35121

                                                                                  205-625-4153
                                            DOCUMENT 7
           Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 55 of 64


                                      AlaFile E-Notice




                                                                         08-CV-2022-900123.00


To: TRANS UNION, LLC
    PRENTICE HALL CORPORATION
    641 SOUTH LAWRENCE STREET
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

                         SHARON DORSEY V. TRANS UNION, LLC ET AL
                                  08-CV-2022-900123.00

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                                                                   BLOUNT COUNTY, ALABAMA
                                                                    220 SECOND AVENUE EAST
                                                                                  ROOM 208
                                                                          ONEONTA, AL, 35121

                                                                                  205-625-4153
                                            DOCUMENT 7
           Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 56 of 64


                                      AlaFile E-Notice




                                                                         08-CV-2022-900123.00


To: IC SYSTEM, INC.
    C T CORPORATION SYSTEM
    2 N JACKSON ST, STE. 605
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

                         SHARON DORSEY V. TRANS UNION, LLC ET AL
                                  08-CV-2022-900123.00

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                                                                                  ROOM 208
                                                                          ONEONTA, AL, 35121

                                                                                  205-625-4153
                                                               DOCUMENT 8
                   Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 57 of 64

State of Alabama                                                                                       Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                       08-CV-2022-900123.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                                 IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA
                                      SHARON DORSEY V. TRANS UNION, LLC ET AL
  NOTICE TO:        TRANS UNION, LLC, PRENTICE HALL CORPORATION 641 SOUTH LAWRENCE STREET, MONTGOMERY, AL 36104

                                                                (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  WALLACE WHITNEY SEALS                                                                          ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: PO BOX 10448, BIRMINGHAM, AL 35202                                                                                 .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of SHARON DORSEY
     pursuant to the Alabama Rules of the Civil Procedure.                                      [Name(s)]

                10/18/2022                                 /s/ CINDY C. MASSEY              By:
                      (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                          /s/ WALLACE WHITNEY SEALS
                                                                  (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                           .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                  in                                                                   County,
                      (Name of Person Served)                                                   (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                       (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                                (Phone Number of Server)
                                                               DOCUMENT 8
                   Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 58 of 64

State of Alabama                                                                                       Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                       08-CV-2022-900123.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                                  IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA
                                       SHARON DORSEY V. TRANS UNION, LLC ET AL
  NOTICE TO:        IC SYSTEM, INC., C T CORPORATION SYSTEM 2 N JACKSON ST, STE. 605, MONTGOMERY, AL 36104

                                                                (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  WALLACE WHITNEY SEALS                                                                          ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: PO BOX 10448, BIRMINGHAM, AL 35202                                                                                 .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of SHARON DORSEY
     pursuant to the Alabama Rules of the Civil Procedure.                                      [Name(s)]

                10/18/2022                                 /s/ CINDY C. MASSEY              By:
                      (Date)                                             (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested.                          /s/ WALLACE WHITNEY SEALS
                                                                  (Plaintiff's/Attorney's Signature)


                                                     RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                           .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                  in                                                                   County,
                      (Name of Person Served)                                                   (Name of County)

  Alabama on                                               .
                                    (Date)
                                                                                                       (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                                (Phone Number of Server)
                          DOCUMENT 9
Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 59 of 64
                          DOCUMENT 9
Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 60 of 64
                          DOCUMENT 10
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                                        DOCUMENT 11
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                                   AlaFile E-Notice




                                                                        08-CV-2022-900123.00
                                                                        Judge: STEVEN D KING
To: SEALS WALLACE WHITNEY
    anita@cochrunseals.com




                        NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF BLOUNT COUNTY, ALABAMA

                       SHARON DORSEY V. TRANS UNION, LLC ET AL
                                08-CV-2022-900123.00

                        The following matter was served on 10/24/2022

                                   D002 IC SYSTEM, INC.
                                      Corresponding To
                                      CERTIFIED MAIL




                                                                       CINDY C. MASSEY
                                                                   CIRCUIT COURT CLERK
                                                               BLOUNT COUNTY, ALABAMA
                                                                220 SECOND AVENUE EAST
                                                                              ROOM 208
                                                                      ONEONTA, AL, 35121

                                                                                205-625-4153
                          DOCUMENT 12
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                                        DOCUMENT 13
          Case 2:22-cv-01489-ACA Document 1-1 Filed 11/23/22 Page 64 of 64


                                   AlaFile E-Notice




                                                                        08-CV-2022-900123.00
                                                                        Judge: STEVEN D KING
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                       SHARON DORSEY V. TRANS UNION, LLC ET AL
                                08-CV-2022-900123.00

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                                  D001 TRANS UNION, LLC
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                                      CERTIFIED MAIL




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                                                                   CIRCUIT COURT CLERK
                                                               BLOUNT COUNTY, ALABAMA
                                                                220 SECOND AVENUE EAST
                                                                              ROOM 208
                                                                      ONEONTA, AL, 35121

                                                                                205-625-4153
